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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




UNITED STATES OF AMERICA,                    )      Case No.: 1:06 CR 125-12
                                             )
       Plaintiff                             )      JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )      ORDER ACCEPTING PLEA
AURORA VALDEZ,                               )      AGREEMENT, JUDGMENT AND
                                             )      REFERRAL TO U. S. PROBATION
       Defendant                             )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge William H. Baughman, Jr., regarding the change of plea hearing of Aurora

Valdez, which was referred to the Magistrate Judge with the consent of the parties.

       On May 9, 2006, the government filed a thirty-six count superseding indictment,

charging Defendant Aurora Valdez, with Conspiracy to Smuggle Aliens into and within the

United States in violation of Title 8 United States Code, Section 1324(a)(1)(A)(v)(I); Conspiracy

to Commit Mail Fraud and Document Fraud in violation of Title 18, United States Code,

Section 371. On July 23, 2007, Defendant Valdez was arraigned and entered a plea of guilty to

count 1 of the superseding indictment before Magistrate Judge William H. Baughman, Jr. A

Report and Recommendation (“R&R”) concerning whether the plea should be accepted and a
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finding of guilty entered on January 23, 2007 by Magistrate Judge Baughman .

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Valdez is found to be competent to enter a plea and to understand her constitutional rights. She

is aware of the charges and of the consequences of entering a plea. There is an adequate factual

basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Valdez is adjudged guilty of Count 1of the superseding indictment,

in violation of Title 8 United States Code, Section 1324(a)(1)(A)(v)(I).

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
